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                            Schedule - Post Petition Debts Rule 1019

                     Anthony Mondragon & Lisa Grimshaw 10-46631


Advocate Home Care Products-BV
10055 S. 76th Ave.
Bridgeview IL 60455                                                    $461.00

Advocate Lutheran General Hospital
1775 Dempster Street
Park Ridge IL 60068                                                    $1,303.00

NorthShore University Health
9532 Eagle Way
Chicago IL 60678                                                       $400.00

NorthShore University Health System
c/o Medical Business Bureau, LLC
1175 Devin Dr.. Ste 173
Norton Shores MI 49441                                                 $300.00

Northshore University Health/ENH
c/o Van Ru Credit Corp.
1350 E. Touhy Ave.. Suite 100E
Des Plaines IL 60018                                                   $400.00

Park Ridge Anesthesiology
POBox 1123
Jackson MI 49204-1123                                                  $663.00
